1. A certificate relating to eviction, issued to a landlord by the Rent Director of the Office of Price Administration, under the provisions of the Emergency Price Control Act of 1942, authorizing such landlord to pursue his remedies for the removal or eviction of the tenant, was conclusive upon the trial court on the question of the good faith of the landlord in obtaining the certificate.
2. When the issue in a dispossessory-warrant proceeding is determined against the tenant, and the premises involved are in a defense rental-area under the Emergency Price Control Act of 1942, judgment shall go against the tenant for double the rent as fixed by the Office of Price Administration.
         DECIDED JULY 11, 1947. REHEARING DENIED JULY 29, 1947. *Page 521 
This is a dispossessory-warrant proceeding, filed by Selwyn G. Begner against Louis S. Cohen, in the Civil Court of Fulton County, to recover possession of certain premises therein described. The warrant alleged that Cohen as the tenant of Begner was holding said house and premises over and beyond the term for which the same were rented or leased to him; that the owner had complied with the rent regulations promulgated by the Administrator of the Office of Price Administration; and that the plaintiff, a veteran, required possession of the premises for occupancy for himself and family.
The defendant filed a counter-affidavit, denying that he was holding possession over and beyond his term, and denying that the plaintiff was seeking in good faith to recover possession of the property for his immediate use and occupancy as a dwelling for himself; and he denied that the plaintiff was complying with the Federal rent regulations applicable, and he alleged that for this reason the plaintiff was depriving the defendant of his legal rights.
The plaintiff testified: that he was the owner of the premises involved; that he had requested the defendant to vacate the premises; that the defendant stated that he would move as soon as possible, that he had obtained from the O. P. A. a certificate of eviction, which was introduced in evidence, authorizing him to evict the defendant; that the original copy of the eviction certificate was sent by registered mail to the defendant, that four months were given the defendant to remain in the premises before the dispossessory proceeding was instituted, as provided in the eviction certificate; that the defendant had been notified by letter to vacate the premises within 60 days, as required by the Georgia law, on October 30 and again on December 27, 1946; that demand for the premises was made on the defendant personally on March 1, before the proceeding was filed on March 3, 1947, at which time the defendant said that he had no place to move; that in conversations with the defendant he first stated that he would move as soon as he could, but later on it seemed that he was going to take his time about getting out; and that the defendant was still in possession of the premises and would not get out when possession was *Page 522 
demanded. The rent was paid up to March 1, and the plaintiff refused to accept any rent after that date although it was tendered for one month in advance.
The defendant, on cross-examination of the plaintiff, undertook to prove that the eviction certificate was obtained on the ground that the plaintiff wanted the apartment for himself and wife; and that, after applying for the certificate in November, 1946, the plaintiff had rented an apartment in January, 1947, in which he was living at the time of the trial. The court excluded this testimony on motion of the plaintiff. When the certificate of eviction was tendered in evidence, it was objected to by the defendant on the ground that it authorized "Selwyn G. Begner (the plaintiff) or Nalley Houses Inc. to pursue his remedies for the removal or eviction of the tenant . . in accordance with the requirements of the local law."
After the plaintiff had testified and rested his case, counsel for the defendant stated that his defense was based solely on the allegations in his counter-affidavit as to a lack of good faith on the part of the plaintiff in seeking to recover possession of the property for his use and occupancy as a dwelling for himself. After counsel had stated for the record what he expected to prove on the question of good faith, the court ruled that he could not go back of the certificate of eviction and thus inquire into the reasons or good faith of the applicant in obtaining the certificate, and that the certificate could not be thus attacked in that court. The defendant offered no additional evidence, and the court directed a verdict awarding possession of the property to the plaintiff, upon which a judgment was entered in favor of the plaintiff for the premises and for an amount as double rent thereon.
The defendant presented to a judge of Fulton Superior Court his petition for certiorari, in which the facts as stated were set forth, and in which he assigned error on the ruling excluding the testimony that he sought to elicit from the plaintiff on cross-examination; and on the ruling refusing to permit the defendant to go behind the eviction certificate and attack it collaterally in that court. The defendant also complained of the judgment for double rent as being illegal and in violation of the Emergency Price Control Act of 1942. These exceptions present the only questions for our decision — namely, whether the court was right in excluding *Page 523 
testimony which sought to show that the certificate of eviction was illegally or improperly procured by the plaintiff, and in ruling that the certificate was binding upon that court and could be attacked only in some other forum; and whether the plaintiff was entitled to double rent. We will deal with these questions in the order in which they are presented.
1. We think that the court properly held that the eviction certificate was conclusive on the question of the good faith of the plaintiff in obtaining the same, and properly excluded the testimony which sought to invalidate the certificate. The Emergency Price Control Act of 1942 created the Emergency Court of Appeals, and gave it exclusive jurisdiction to review any regulation, order, or price schedule of the Price Administrator, and provided that its decision could be reviewed by the Supreme Court of the United States by certiorari. 50 U.S.C.A., 924 (d). The case of Horton v. Cantrell,238 Mo. App. 681 (187 S.W.2d 860), held that the trial court had no jurisdiction, in an unlawful-detainer action, to determine whether the certificate of the Federal rent control office, authorizing the landlord to pursue his remedies for the removal of the tenant, was supported by sufficient evidence, or whether the landlord acted in good faith in obtaining the certificate, and that the exclusive remedy to test these questions was by appeal to the Emergency Court of Appeals. A similar ruling was made in Bowles, Price Administrator, v. Griffin, 151 Fed. 2d, 458, by the Circuit Court of Appeals for the 5th Circuit. That case holds that the act denies jurisdiction to any court, except the Emergency Court of Appeals, to consider the validity of any such regulation, order, or price schedule, although a district court has jurisdiction to find the facts to which the regulations or orders are to be applied. That case makes a distinction between an attack on the validity of a regulation and the finding of facts to which the regulation is to be applied. It seems to us that under the express terms of the act the trial court was correct in ruling that it could not go behind the certificate of eviction, and we think that this view is supported by the cases cited.
The objection to the certificate of eviction, on the ground that it authorized the plaintiff or Nalley Houses Inc. to file the eviction *Page 524 
proceeding, is not meritorious for any reason appearing in the record. An inspection of the certificate shows that it was directed and addressed to the plaintiff, Selwyn G. Begner, and the authority directed to him and to Nalley Houses Inc. did not, in our opinion, make it invalid. The plain purport of the certificate was to authorize the plaintiff to proceed, although the corporation named is included in his authority.
2. The complaint that the judgment rendered by the court was illegal because it was for double rent is without merit. The Code, § 61-305, provides for double rent when an issue in a dispossessory proceeding is determined against the tenant, and the certificate of eviction issued by the O. P. A. authorized the plaintiff to proceed against the tenant "in accordance with the requirements of the local law." The O. P. A. regulations are to be construed in connection with the laws of the State, and there is no conflict between such regulations and the statute authorizing double rent. Our conclusion on this point seems to have been reached and applied by this court in Bass v.Thigpen, 73 Ga. App. 279 (36 S.E.2d 187), a dispossessory-warrant proceeding in which it was held that the rental value of the property there involved was double the amount which had been fixed by the O. P. A. Furthermore, the record does not show that any amount had been fixed by Federal regulations as the rental value of the premises involved in this case.
It follows that the superior court did not err in refusing to sanction the petition for certiorari.
Judgment affirmed. Sutton, C. J., and Felton, J., concur.